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          16

          17                               UNITED STATES DISTRICT COURT

          18                                        DISTRICT OF NEVADA

          19     RIMINI STREET, INC., a Nevada                      CASE NO. 2:14-CV-01699-LRH-CWH
                 corporation,
          20                                                        RIMINI STREET, INC. AND SETH
                                       Plaintiff,                   RAVIN’S MOTION TO COMPEL
          21                                                        INFORMATION CONCERNING
                        v.                                          ORACLE’S COMMUNICATIONS
          22                                                        WITH LAW ENFORCEMENT
                 ORACLE INTERNATIONAL                               ENTITIES
          23     CORPORATION, a California corporation,
                 and ORACLE AMERICA, INC., a Delaware               ORAL ARGUMENT REQUESTED
          24     corporation,
                                                                    PUBLIC REDACTED VERSION
          25                           Defendants.
          26
                 AND RELATED COUNTERCLAIMS.
          27

          28

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            1           Plaintiff and Counterdefendant Rimini Street, Inc. and Counterdefendant Seth Ravin
            2    (together, “Rimini”) respectfully move this Court, pursuant to Rule 37(a) of the Federal Rules
            3    of Civil Procedure and Local Rule 26-7 for an order compelling Oracle International
            4    Corporation, and Oracle America, Inc. (“Oracle”) to produce documents and testimony relating
            5    to its communications with law enforcement agencies regarding Rimini, the legality of Rimini’s
            6    support services, and the legality of third party support.     This includes: (1) a deponent
            7    competent to testify to Topic 5 of Rimini’s Fifth Notion of Deposition under Federal Rule of
            8    Civil Procedure 30(b)(6); (2) an amended response to Rimini’s Interrogatory No. 14; and (3)
            9    documents and communications responsive to Rimini’s RFP Nos. 4, 9, 11, 14, 154, 155–157,
          10     161–162, 166, 167, 172, 186–190, 199, 200, 205, 206, 271–273, 275, 277–279, 288, and 289.
          11     Rimini respectfully requests that the Court order Oracle to produce the documents and
          12     interrogatory response within 14 days of the Court’s Order and to produce a prepared 30(b)(6)
          13     witness at a reasonable time shortly thereafter.
          14            This Motion is based upon this Notice of Motion and Motion, the following
          15     Memorandum of Points and Authorities, the supporting Declaration of Casey McCracken
          16     (“McCracken Decl.”) and exhibits thereto, the entire record in this matter, and any such further
          17     submissions or oral argument that may be submitted prior to the determination of this Motion.
          18

          19     Dated: March 28, 2018
          20                                                   GIBSON, DUNN & CRUTCHER LLP
          21
                                                               By: /s/ Jeffrey T. Thomas
          22                                                                   Jeffrey T. Thomas
          23                                                   Attorneys for Plaintiff and Counterdefendant
                                                               Rimini Street, Inc., and Counterdefendant Seth
          24                                                   Ravin
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            1                                        I.      INTRODUCTION
            2            Previously unbeknownst to Rimini, it appears that, shortly after a jury found Rimini
            3    Street liable for “innocent” infringement in the trial of the related case of Oracle USA, Inc. v.
            4    Rimini Street, Inc. (“Rimini I”), 10-CV-106 (D. Nev.), Oracle began communicating with law
            5    enforcement agencies—including the Department of Justice (“DOJ”), the Federal Bureau of
            6    Investigation (“FBI”), and the United States Attorneys’ Office (“USAO”)—about the
            7    lawfulness of Rimini’s business practices. The existence of these communications should have
            8    been disclosed to Rimini throughout the discovery process in this litigation, in response to no
            9    fewer than 32 written discovery requests. Yet, Rimini did not learn about these communications
          10     until it received a grand jury subpoena from the USAO, which was issued the very day after
          11     discovery closed in this case.
          12             Oracle’s communications with law enforcement agencies concerning Rimini, including
          13     regarding the precise conduct at issue in this civil case, are directly relevant to the claims in this
          14     case. Yet Oracle did not produce them before discovery closed on February 28, 2018. Indeed,
          15     Oracle has since refused to produce them or any related information.
          16             After Rimini received the subpoena from the USAO, Rimini reached out to Oracle
          17     through multiple meet and confer letters demanding that Oracle (1) produce Oracle’s
          18     communications with law enforcement agencies about Rimini, as such documents are
          19     responsive to dozens of Rimini Requests for Production (“RFP”); and (2) ensure that its
          20     corporate representative designated to testify in response to Rimini’s Federal Rule of Civil
          21     Procedure 30(b)(6) deposition covering Oracle’s communications with government entities be
          22     prepared to testify specifically on Oracle’s communications with law enforcement agencies.
          23     Oracle refused as to both requests. To date, Oracle has not produced a single communication
          24     with law enforcement agencies. And Oracle declined to educate its corporate representative,
          25     who was deposed on March 22, 2018, on this topic.
          26             Oracle resists production of these critical documents and testimony on two grounds.
          27     First, Oracle contends that these communications are somehow irrelevant to this case. In
          28     reality, they are highly relevant. Such communications constitute statements from Oracle to a
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            1    third party about Rimini. And, more specifically, they constitute statements about Rimini’s
            2    conduct and support processes that Oracle perceives to be unlawful, which are central to a
            3    number of claims and counterclaims in this litigation. The communications likely contain
            4    discoverable information as to Oracle’s contentions in this case, Oracle’s interpretations of its
            5    license agreements and Terms of Use, and Oracle’s motives in revoking Rimini’s access to
            6    Oracle’s support web sites, among other things. At a minimum, Oracle’s statements to third
            7    parties about the conduct alleged in this case are clearly relevant to Oracle’s counterclaims of
            8    copyright infringement and both parties’ claims regarding Oracle’s revocation of Rimini’s
            9    access to Oracle’s support websites.
          10            Second, as to Rimini’s document requests, Oracle asserts that even though Rimini
          11     served 31 RFPs and an interrogatory covering these communications, Oracle is not required to
          12     produce them because Oracle limited its productions to particular document custodians, and
          13     these communications are possessed by different (undisclosed) custodians. Oracle asserts that
          14     because discovery closed on February 28, 2018, it is too late for Rimini to request these
          15     documents now, even though these communications only came to light via the USAO’s
          16     subpoena, prompted in part by Oracle, which issued the day after discovery closed.
          17            Oracle is wrong. Good cause exists to require Oracle to produce these documents now.
          18     Despite knowing about these communications for years, and despite numerous meet and confers
          19     regarding Oracle’s communications with government agencies, Oracle failed to disclose their
          20     existence to Rimini—instead waiting for Rimini to find out when the grand jury subpoena
          21     issued the day after fact discovery closed. Oracle should not benefit from its gamesmanship.
          22     Rimini was diligent in requesting (via dozens of discovery requests) Oracle’s communications
          23     with government agencies and reiterating those requests immediately upon learning of the grand
          24     jury subpoena. There is no prejudice to Oracle to producing these critical and easily-identifiable
          25     documents, which it has known about for years. And it would be unjust to permit Oracle to
          26     manipulate discovery by withholding key documents—documents that underlie and helped
          27     prompt the USAO’s investigation of Rimini’s support practices. Rimini, thus, respectfully
          28     requests that the Court compel Oracle to produce documents and testimony concerning its
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            1    Rimini to be an “innocent” infringer under U.S. copyright law, and during the current civil
            2    proceedings in this Nevada federal court to adjudicate the legal merits of Rimini’s new software
            3    maintenance procedures, Oracle sought to initiate a separate criminal matter in the Northern
            4    District of California Department of Justice. There can be little doubt that this tactic by Oracle
            5    was intended to intimidate and harass Rimini Street and its officers in a new forum outside
            6    Nevada.
            7    B.      Rimini’s Discovery Requests
            8            1.      Rimini’s Requests for Production
            9            Beginning in June 2015 and continuing through 2017, Rimini served on Oracle no less
          10     than 31 RFPs and one interrogatory that would encompass Oracle’s communications with law
          11     enforcement agencies about Rimini, and related documents. Those RFPs include the following:
          12     RFP Nos. 4, 9, 11, 14, 154–57, 161–62, 166–67, 186–90, 199–200, 205–06, 271–73, 275, 277–
          13     79. See id. at Appendix 1 (providing full text of all 31 RFPs). Paraphrased for ease of reading,
          14     these RFPs include:
          15     •    RFP No. 4: Documents and communications regarding the use of Oracle’s Software and
                      Support Materials in development and testing environments by third-party support
          16          providers.
          17     •    RFP No. 9: Documents relating to Oracle’s license agreements that allegedly preclude a
                      third party from installing Software and Support Materials on an offsite server and/or cloud-
          18          computing storage.
          19     •    RFP No. 11: Documents relating to awareness by Oracle of any alleged infringement of
                      any Oracle copyrighted works relating to the PeopleSoft family of software products,
          20          including any alleged infringement by Rimini Street.
          21     •    RFP No. 14: Documents relating to any statement, communication, or correspondence by
                      Oracle that refers or relates to Rimini Street.
          22
                 •    RFP No. 154: Documents and communications concerning the allegation that Rimini
          23          improperly downloads Oracle Software and Support Materials.
          24     •    RFP No. 155: Documents and communications concerning the allegation that Rimini
                      improperly downloads installation software from Oracle’s technical support websites.
          25
                 •    RFP No. 156: Documents and communications concerning the allegation that Rimini has
          26          cross-used one customer’s software environment to develop updates for others.
          27     •    RFP No. 157: Documents and communications concerning the allegation that Rimini
                      knowingly concealed, induced, enabled, or facilitated infringement.
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            1    •    RFP No. 161–162: All Communications between Oracle and any Third Party in which
                      Oracle makes any statement Relating to Rimini or its services.
            2
                 •    RFP Nos. 166–167: Communications between Oracle and any third party relating to the
            3         use of automated or robotic methods to download Oracle Software and Support Materials
                      by Rimini or any Rimini Street Client.
            4
                 •    RFP No. 172: Documents and Communications relating to a Rimini client that has
            5         purportedly improperly downloaded Oracle Software and Support Materials.
            6    •    RFP No. 186: Documents and Communications relating to any statement that Rimini
                      cannot timely deliver tax and regulatory updates for its clients without impermissibly cross-
            7         using Oracle’s software.
            8    •    RFP Nos. 187–188: Communications between Oracle and any third party in which Oracle
                      represents that Rimini cannot provide legitimate support for the Oracle software at issue in
            9         this litigation.
          10     •    RFP Nos. 189–190: Communications between Oracle and any third party in which Oracle
                      represents that Rimini is stealing or engaging in the theft of Oracle Software and Support
          11          Materials and/or Oracle intellectual property, or similar such statements.
          12     •    RFP Nos. 199–200: Communications between Oracle and any third party relating to the
                      lawfulness of Third Party Support for the software at issue in this case.
          13
                 •    RFP Nos. 205–206: Communications between Oracle and any third party relating to
          14          “unauthorized third party support providers,” “unauthorized 3rd party providers,”
                      “unauthorized support providers,” or similar such statements.
          15
                 •    RFP Nos. 271–273, 275: Communications between Oracle and any third party relating to
          16          whether “Rimini’s downloading” “comport[s] with the licenses and terms of use” for Oracle
                      support websites.
          17
                 •    RFP No. 277: Documents and communications supporting or refuting the allegation that
          18          Rimini relies upon copies of Oracle Software and Support Materials to provide low-cost
                      support.
          19
                 •    RFP No. 278: Documents and communications supporting or refuting the allegation that
          20          Rimini nonetheless maintained and still maintains custody and control over these copies,
                      whether stored on cloud systems or hosted on customer servers.
          21
                 •    RFP No. 279: Documents and communications supporting or refuting the allegation that it
          22          is “implausible” that Rimini could “simultaneously deliver[]” updates to customers “could
                      happen if Rimini did not continue unlawfully to cross-use Oracle’s software.”
          23
                 •    RFP Nos. 288–289: Communications between Oracle and a third party relating to what
          24          Oracle believes to be excessive or unlawful downloading from the Oracle Support Websites.
          25             The complete RFPs and Oracle’s responses thereto are listed in the accompanying

          26     Declaration of Casey J. McCracken. In each case, Oracle agreed to produce documents that

          27     would encompass communications between Oracle and law enforcement concerning Rimini

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            1    and its processes subject to the parties’ agreements on custodians and technology assisted
            2    review (“TAR”). For example, Rimini’s RFP No. 161 requested:
            3            All Communications between Oracle and any Third Party in which Oracle
                         makes any statement Relating to Rimini or its services.
            4
                 Id. at Ex. G at 7. In response, Oracle agreed to produce responsive documents:
            5
                         Subject to and without waiving its objections, Oracle agrees to produce non-
            6            privileged responsive documents, (a) subject to the parties’ agreement on
                         identified Oracle custodians and the parties’ agreed TAR Protocol, and (b) from
            7            the non-custodial sources described in General Objection Paragraph 5, to the
                         extent Oracle’s investigation has revealed that those sources are likely to have
            8            responsive documents. Oracle has produced many such documents already.
            9    Id. at Ex. H at 9.
          10             2.      Rimini’s Interrogatory No. 14
          11             On December 22, 2016, Rimini served on Oracle its Third Set of Interrogatories,
          12     including Interrogatory No. 14, which reads:
          13             Please describe in detail any statements or representations made by Oracle to
                         any government agency Relating to the ability of Rimini or any other Third Party
          14             Support Provider to provide maintenance and/or support for Oracle software,
                         including by identifying the date of the statements, to whom the statements were
          15             made, and any documents reflecting the statements.”
          16     Id. at Ex. K at 5. Rimini’s Interrogatory was directed to obtaining Oracle’s communications
          17     with government entities about Rimini in those entities’ capacities as “government entities.”
          18     However, Oracle interpreted the interrogatory to be asking for Oracle’s communications with
          19     its “government customers,” and, thus, objected that the interrogatory was, therefore,
          20     overbroad, and refused to answer at all on that basis. Id. at Ex. L at 6–7.
          21             During the meet and confer process, Rimini explained that it was seeking a description
          22     of Oracle’s communications with government entities in their capacities as government entities.
          23     However, Oracle still resisted answering the interrogatory. Even though Oracle knew that
          24     Oracle had been communicating with the FBI and USAO (and perhaps other law enforcement
          25     agencies) about Rimini concerning the very conduct at issue in this case, and those
          26     communications would be directly responsive to this interrogatory, it did not inform Rimini of
          27     this fact. Instead, it told Rimini that the communications it sought through the interrogatory
          28     were “irrelevant” and misleadingly told Rimini that Rimini was going on a “fishing expedition.”
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            1    McCracken Decl., Ex. M (March 1, 2017 Letter from Wan to Vandevelde). Oracle refused to
            2    answer the interrogatory, and the parties initiated letter briefing to bring the dispute before the
            3    Court. Id. ¶ 26.
            4            Rimini and Oracle exchanged sections of joint letter briefing, but ultimately did not
            5    bring the dispute to this Court because they were able to reach a compromise. To avoid
            6    burdening the Court with motion practice, Rimini narrowed its interrogatory request to Oracle’s
            7    communications with “any competition agency, the United States Executive Office of the
            8    President, the Department of Homeland Security, and/or the American Technology Council.”
            9    McCracken Decl., Ex. N. While Oracle’s communications with the DOJ still fall within the
          10     narrowed scope because the DOJ is a competition agency, had Rimini known of Oracle’s
          11     communications with the DOJ, it would have more explicitly requested them.
          12             3.      Rimini’s 30(b)(6)    Deposition  Topic    Encompassing                    Oracle’s
                                 Communications with Government Agencies Regarding Rimini
          13
                         On January 3, 2018, Rimini served on Oracle its Fifth Notice of Deposition (“Deposition
          14
                 Notice”) under Federal Rule of Civil Procedure 30(b)(6) (“Rule 30(b)(6)”). Id. at Ex. P. Topic
          15
                 5 of that Notice requested the Oracle produce a deponent competent to testify to:
          16
                         Communications made by or on behalf of Oracle to regulatory or government
          17             entities or agencies Relating to Oracle’s enforcement of Oracle’s rights under
                         the License Agreements as they Relate to Third Party Support (including the
          18             License Agreement provisions identified in Topic 1).
          19     Id. at 8. This deposition topic encompasses Oracle’s communications with law enforcement
          20     agencies regarding the legality of Rimini’s support processes. Oracle objected to this topic,
          21     claiming that any communications with entities other than Rimini’s current or prospective
          22     clients would be irrelevant. Id. at Ex. Q at 3–4. Oracle unilaterally informed Rimini that it was
          23     refusing to testify as to any government agencies other than competition agencies, the United
          24     States Executive Office of the President, the Department of Homeland Security, and/or the
          25     American Technology Council. Id. Rimini did not agree to Oracle’s unilateral narrowing of
          26     the topic. 1
          27      1
                      Oracle moved for a protective order to prevent a deposition on this topic (and all other topics
                      in the Notice) on the grounds that Rimini’s noticing of multiple 30(b)(6) depositions was
          28
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            1    C.      Meet and Confer Correspondence After Rimini Received the USAO’s Subpoena
            2            On March 9, 2018, counsel for Rimini sent a letter to counsel for Oracle rejecting

            3    Oracle’s proposed narrowing of Topic 5 of the Deposition Notice, and reaffirming that Rimini

            4    expected Oracle’s witness to be prepared to testify to the full scope of Topic 5, including.

            5    communications with government entities such as the FBI, the USAO, the DOJ, state Attorney

            6    General’s Offices, and/or similar law enforcement agencies. Id. at Ex. R.

            7            On March 12, 2018, Rimini sent a follow-up letter to Oracle regarding Oracle’s deficient

            8    responses and productions related to Rimini’s various written discovery requests. Id. at Ex. S.

            9    Rimini informed Oracle that Oracle’s communications with law enforcement agencies

          10     concerning Rimini were directly responsive to dozens of RFPs and Interrogatory No. 14. Id.

          11     Rimini therefore requested that Oracle (1) produce all communications between it and law

          12     enforcement agencies concerning Rimini; and (2) supplement its response to Interrogatory No.

          13     14 to describe such communications, including oral communications. Id.

          14             On March 13, 2018, Oracle responded to Rimini’s letter concerning Topic 5 of the

          15     Deposition Notice. Id. at Ex. T. Oracle again refused to provide a deponent competent to testify

          16     about Oracle’s communications with law enforcement agencies concerning Rimini because

          17     (1) Oracle believed that such communications are beyond the scope of the Deposition Notice,

          18     and (2) Oracle believed that any such communications “have no relevance to this civil case

          19     pending in Nevada.” Id.

          20             Two days later, on March 15, 2018, Oracle responded to Rimini’s meet and confer letter

          21     concerning its written discovery requests, in which it further refused to provide any documents

          22     or interrogatory responses concerning its communications with law enforcement agencies. Id.

          23     at Ex. U. Again, Oracle maintained that it did not believe such communications were relevant

          24     to the instant action.     Oracle also asserted that, while dozens of Rimini RFPs clearly

          25     encompassed the documents at issue, Oracle did not agree “to a scope of production that would

          26

          27          overbroad and burdensome. ECF No. 682 at 9–12. Oracle could have raised an argument
                      as to the breadth of Topic 5, but it chose not to. Its motion for a protective order was denied,
          28          and thus the deposition was ordered to proceed. ECF No. 694.

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            1    include any of the communications Rimini now seeks.” Id. While Oracle did not explain that
            2    statement, it appears Oracle intends to argue that its communications with law enforcement
            3    agencies (and documents referencing them) would be in the possession of persons who were
            4    not document custodians in the case.
            5             On March 19, 2018, Rimini responded to both of Oracle’s letters, reasserting its position
            6    that the documents and testimony must be produced and inviting an oral meet and confer. Id.
            7    at Ex. V. Oracle responded in a letter on March 21, 2018. Although the parties had exchanged
            8    several letters regarding production of the communications at issue, Oracle suddenly switched
            9    positions and stated that it “neither confirm[s] nor den[ies]” the existence of “any
          10     communications with the DOJ or the FBI related to Rimini” or the “existence of any documents
          11     responsive to Rimini’s discovery requests at issue.” Oracle also reaffirmed that it was refusing
          12     to produce documents or testimony. Id. at Ex. W.
          13              On March 22, 2018, Rimini deposed Oracle’s Rule 30(b)(6) designee, Michael
          14     Solomon, who claimed to be unable to testify as to any communications concerning Rimini
          15     with law enforcement agencies. That same day, counsel for Oracle and Rimini engaged in a
          16     telephonic meet and confer conference in which all of the issues addressed in the previous letters
          17     were discussed. Id. ¶ 30. The parties were not able to resolve their dispute, and this motion
          18     ensued.
          19     D.       Oracle’s Subsequent Use of the Grand Jury Subpoena in Motion Practice
          20              Despite claiming that Oracle’s communications with the government regarding the
          21     grand jury subpoena have no relevance to the civil dispute between Rimini and Oracle, on
          22     March 26, 2018 (two days ago), Oracle cited the grand jury subpoena to this Court in support
          23     of its claim for attorneys’ fees on remand in Rimini I. Rimini I, ECF No. 1118. Oracle argued
          24     that the subpoena was “further indication that [Rimini’s] ongoing processes are unlawful.” Id.
          25     at 10.
          26                                      III.   LEGAL STANDARDS
          27              “The purpose of discovery is to provide a mechanism for making relevant information
          28     available to the litigants.” Burlington N. & Santa Fe Ry. v. United States Dist. Court, 408 F.3d
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            1    1142, 1148–49 (9th Cir. 2005) (quoting Rule 26 advisory committee’s note (1983 amendment)).
            2    Federal Rule of Civil Procedure 26 sets forth the scope of discovery parties may obtain: “Parties
            3    may obtain discovery regarding any nonprivileged matter that is relevant to any claim or
            4    defense and proportional to the needs of the case[.]” Fed. R. Civ. P. 26(b)(1). In determining
            5    whether the discovery sought is proportional to the needs of the case, the Court considers “the
            6    importance of the issues at stake in the action, the amount in controversy, the parties’ relative
            7    access to relevant information, the parties’ resources, the importance of the discovery in
            8    resolving the issues, and whether the burden or expense of the proposed discovery outweighs
            9    its likely benefit.” Id.
          10             When a party fails to provide the requested discovery, the requesting party may move
          11     to compel production. See Fed. R. Civ. P. 37(a). The “party resisting discovery bears the
          12     burden of showing why a discovery request should be denied.” F.T.C. v. AMG Servs., Inc., 291
          13     F.R.D. 544, 553 (D. Nev. 2013). Specifically, “[t]he party opposing discovery bears the burden
          14     of showing the discovery is overly broad and unduly burdensome, or not relevant.” Kawamura
          15     v. Boyd Gaming Corp., No. 2:13-CV-00203-JCM, 2014 WL 3953179, at *4 (D. Nev. Aug. 13,
          16     2014). The Court has broad discretion in controlling discovery. Little v. City of Seattle, 863
          17     F.2d 681, 685 (9th Cir. 1988).
          18                                          IV.    ARGUMENT
          19             Oracle should be required to disclose its communications with law enforcement
          20     agencies to properly respond to Rimini’s various discovery requests. First, the requested
          21     discovery is critically relevant to this case and consists of Oracle’s own statements concerning
          22     the precise conduct at issue in this litigation. Second, testimony from Oracle’s corporate
          23     representative should be compelled because Rimini properly noticed a valid deposition
          24     covering this topic, Rimini did not agree to narrow it, and there is no basis for Oracle to
          25     unilaterally refuse to prepare its witness. Third, there is good cause to order production of
          26     Oracle’s communications with law enforcement agencies, and a response to Rimini’s
          27     interrogatory, because such documents are relevant, Rimini served numerous requests seeking
          28     the documents during discovery and was diligent in seeking them as soon as it learned (through
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            1    the USAO subpoena) the extent of Oracle’s communications, and there is no burden or
            2    prejudice to Oracle. Finally, it would do a disservice to the discovery process to allow Oracle
            3    to avoid producing these documents by not revealing their existence during extensive meet and
            4    confers, only to have the USAO’s subpoena (revealing the existence of these communications)
            5    issue the day after discovery closed.
            6    A.      Oracle’s Communications with Law Enforcement Entities Are Relevant
            7            Oracle first claims that its communications with law enforcement about Rimini are not
            8    relevant. But Oracle is wrong. These communications are directly relevant to a number of
            9    claims and counterclaims in this case.
          10             Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain discovery
          11     regarding any matter, not privileged which is relevant to the subject matter involved in the
          12     pending action.” Fed. R. Civ. P. 26(b)(1). “The key phrase in this definition—‘relevant to the
          13     subject matter involved in the pending action’—has been construed broadly to encompass any
          14     matter that bears on, or that reasonably could lead to other matter that could bear on, any issue
          15     that is or may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)
          16     (quoting Fed. R. Civ. P. 26(b)(1)) (emphasis added). Discovery is not “limited to the merits of
          17     a case, for a variety of fact-oriented issues may arise during litigation that are not related to the
          18     merits.” Id. As the Supreme Court has made clear, “civil trials in the federal courts no longer
          19     need be carried on in the dark. The way is now clear, consistent with recognized privileges, for
          20     the parties to obtain the fullest possible knowledge of the issues and facts before trial.” Hickman
          21     v. Taylor, 329 U.S. 495, 501 (1947) (emphasis added).
          22             This case primarily concerns Rimini’s provision of support services to Oracle software
          23     licensees and whether those services comply with Oracle’s license agreements. ECF No. 487
          24     (Rimini’s Third Amended Complaint) ¶¶ 9–23. Oracle’s communications with the DOJ were
          25     made to prompt an investigation into Rimini’s support services. It is highly likely, therefore,
          26     that Oracle made statements or a presentation about what Oracle believes constitutes Rimini’s
          27     infringement, which is directly relevant to Rimini’s claim for a declaration of no copyright
          28     infringement and Oracle’s copyright infringement counterclaim. The communications also
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            1    likely would reveal Oracle’s contentions in this case—or possibly be in tension with them.
            2    Moreover, these communications would reveal information about Oracle’s interpretation of its
            3    license agreements as applied to Rimini’s conduct.       They would also potentially reveal
            4    information about the propriety of a Rimini client’s creation of archives of Oracle updates and
            5    files. Indeed, Oracle’s communications with law enforcement agencies that directly address
            6    the accused conduct at issue could be some of the most relevant documents in the case.
            7           Further, these communications are relevant to Rimini’s own claims—and Oracle’s
            8    declaratory judgment claim—based on Oracle’s unilateral revocation of Rimini’s access to
            9    Oracle’s support websites. These communications would allow Rimini to demonstrate that
          10     Oracle has been seeking ways in which to cut off Rimini’s access to its websites and the great
          11     lengths to which it has gone in order to do so. In addition, based on the subpoena, it appears
          12     that Oracle’s communications may have related to Rimini’s downloading of support materials
          13     from Oracle’s websites, and those communications, thus, may shed light on the reasons for
          14     Oracle’s revocation of Rimini’s access to those websites, which is a disputed issue in the case
          15     underlying Rimini’s claims for interference with contract and unfair competition. Therefore,
          16     these documents more than meet Rule 26’s minimal relevance threshold required for them to
          17     be discoverable.
          18            Lastly, Oracle claims that its involvement with law enforcement entities is irrelevant
          19     here because this case is a civil matter. But that is entirely inconsistent with Oracle’s own
          20     position that it has recently taken in Rimini I. On March 26, 2018, in its renewed motion for
          21     attorneys’ fees, Oracle cited to the grand jury subpoena as purported evidence of the
          22     unlawfulness of Rimini’s conduct. Rimini I, ECF No. 1118 at 10, 14. It is not appropriate for
          23     Oracle to use the subpoena as affirmative evidence against Rimini while denying Rimini the
          24     discovery showing that Oracle contributed to prompting that subpoena.
          25     B.     The Court Should Compel Oracle to Produce a Rule 30(b)(6) Deponent on the Full
                        Scope of Topic 5
          26
                        Rimini requests that the Court compel Oracle to produce a prepared witness on Topic 5
          27
                 of its Fifth Notice of Deposition, which covers “Communications made by or on behalf of
          28
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            1    Oracle to … government entities … Relating to Oracle’s enforcement of Oracle’s rights under
            2    the License Agreements.” Oracle served objections to Rimini’s deposition notice, attempting
            3    to unilaterally narrow the topic, on purported relevance grounds, to communications with
            4    limited government entities. McCracken Decl. at Ex. Q at 3–4.
            5           As discussed above, Oracle’s relevance objection lacks merit. Oracle has not argued
            6    that preparing a witness to testify to Oracle’s communications with law enforcement agencies
            7    regarding Rimini would be burdensome, nor has Oracle made any other objection. Oracle
            8    cannot unilaterally narrow the scope of the deposition, and Rimini did not agree to any
            9    narrowing of scope. Therefore, a deposition of a prepared witness on this topic should proceed.
          10            Further, Oracle has waived any objections to this deposition topic. Oracle moved for a
          11     protective order to prevent depositions that included this topic from occurring altogether. ECF
          12     No. 682 at 9–12. Oracle could have raised an argument as to the breadth of Topic 5 at that time,
          13     but it chose not to. Arguments that could have been raised, but were not, are waived. See In re
          14     Riverside-Linden Inv. Co., 945 F.2d 320, 325 (9th Cir. 1991).
          15            Accordingly, Rimini requests that the Court compel Oracle to provide a deponent
          16     competent to testify to the full scope of Topic 5, including Oracle’s communications with law
          17     enforcement agencies regarding Oracle’s enforcement of its license agreements as they related
          18     to Rimini.
          19     C.     Oracle Should Be Compelled to Produce Documents and Answer Written
                        Discovery
          20
                        1.      The Court Should Compel Oracle to Produce Its Communications with
          21                    Law Enforcement Agencies
          22            Rimini served on Oracle no less than 31 RFPs that cover Oracle’s communications with
          23     law enforcement agencies concerning Rimini. See supra Section II.B.1; McCracken Decl.
          24     Appendix 1. For example, RFP Nos. 161 and 162 seek “All Communications between Oracle
          25     and any Third Party in which Oracle makes any statement Relating to Rimini or its services.”
          26     Id. at Ex. G at 7. Oracle agreed to produce documents in response to those requests (and 28
          27     others), subject to the parties TAR protocol, as well as from certain non-custodial sources.
          28
                                                                13
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            1           Oracle makes two arguments to resist producing its communications with law
            2    enforcement agencies. First, it argues that the documents are not relevant. But that is not true,
            3    as established above. See supra Section IV.A. Second, Oracle argues that even though Rimini
            4    requested the documents at issue in dozens of requests, Oracle’s agreement to produce
            5    documents in response to those requests was limited to the document custodians identified
            6    through the TAR process, as well as certain non-custodial sources. Although Oracle has not
            7    said so explicitly, Oracle seems to argue that its communications with law enforcement agencies
            8    would not come from those sources—likely the communications were between an Oracle
            9    lawyer and law enforcement agencies, and lawyers are not custodians in the TAR protocol.
          10     Oracle further argues that it is too late for Rimini to specifically request these communications
          11     because fact discovery closed (the day before the subpoena issued).
          12            The Court should reject Oracle’s arguments and compel production the documents
          13     because there is good cause to do so. A party may seek additional discovery after the discovery
          14     cutoff has passed upon a showing of good cause. See Crockett & Myers, Ltd. v. Napier,
          15     Fitzgerald & Kirby, LLP, 430 F. Supp. 2d 1157, 1163 (D. Nev. 2006); Romero v. Nevada Dep’t
          16     of Corr., No. 2:08-cv-808-JAD-VCF, 2013 WL 6206705, at *6 (D. Nev. Nov. 27, 2013). Good
          17     cause exists to extend a discovery deadline where the movant has been diligent in seeking the
          18     requested information. See Crockett, 430 F. Supp. 2d at 1163. Good cause also exists when a
          19     party discovers new information not previously disclosed by the opposing party. See, e.g.,
          20     McDonald v. Escape the Room Experience, LLC, No. 15-CV-7101 (RA) (KNF), 2016 WL
          21     6561408, at *1 (S.D.N.Y. Oct. 3, 2016) (finding defendant established “good cause” to conduct
          22     discovery past the deadline, in part because the “plaintiff concealed relevant documents”);
          23     Izaguirre v. Greenwood Motor Lines, Inc., No. 1:10-581 WBS, 2011 WL 5325658, at *3 (D.
          24     Idaho Nov. 3, 2011), aff’d, 523 F. App’x 482 (9th Cir. 2013) (“Delay due to untimely or
          25     misleading discovery responses can constitute good cause” under Rule 16(b)); cf. Pears v.
          26     Mobile Cty., 645 F. Supp. 2d 1062, 1086 (S.D. Ala. 2009) (finding “good cause” under Rule
          27     16(b) to amend complaint due to the fact that “defendants concealed” necessary information
          28     from the plaintiff “until after the deadline for amending pleadings had passed”).
                                                                 14
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            1           Rimini diligently requested the documents at issue. It served 31 requests for production
            2    that would cover them. And when Rimini learned of the extent of Oracle’s communications
            3    with law enforcement agencies after receiving the USAO’s March 1, 2018 subpoena, it
            4    immediately requested those communications from Oracle. McCracken Decl., Ex. S.
            5           Oracle would suffer no prejudice by being ordered to produce the documents. Oracle
            6    has known of the existence of these documents for years, and has not identified any burden to
            7    producing them. Indeed, it appears that Oracle would easily be able to locate the documents
            8    through a simple search (e.g., for specific email addresses in the emails of the relevant
            9    participants or on a shared drive where letters are stored).
          10            These communications with law enforcement agencies are likely in the possession of
          11     Oracle’s in-house or outside counsel and, thus, similarly would fall outside the TAR process.
          12     Yet, the fact that the documents may not come from custodians selected in the TAR process is
          13     not dispositive. This Court has previously ordered production of narrow sets of documents
          14     outside the TAR process. For example, in February 2017, it ordered the production of Oracle’s
          15     outside counsel’s letters to Rimini customers regarding Rimini’s purported infringement,
          16     because they were highly relevant to the case. ECF No. 427.
          17            Nor should the passage of the document discovery deadline bar discovery into these
          18     documents. Rimini was diligent in requesting the documents as soon as was served with the
          19     subpoena. Oracle knew of the documents throughout discovery and throughout the parties’
          20     many meet and confer discussions, but did not disclose them to Rimini. The timing of the
          21     subpoena—issued the day after discovery closed on February 28, 2018—is also suspicious and
          22     seems unlikely to be a coincidence. It would defeat all sense of justice and fair play to allow
          23     Oracle to attempt to prompt a criminal investigation, fail to disclose the existence of that effort
          24     during extensive meet and confer discussions regarding discovery requests that encompass
          25     communications with government agencies, and resist all such requests—only for the grand
          26     jury subpoena to be issued the very day after fact discovery ended. Accordingly, the Court
          27     should compel production of these documents.
          28
                                                                 15
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            1           2.      The Court Should Compel Oracle to Provide an Amended Response to
                                Interrogatory No. 14
            2
                        Rimini’s Interrogatory No. 14 asks Oracle to
            3
                        Please describe in detail any statements or representations made by Oracle to
            4           any government agency Relating to the ability of Rimini or any other Third Party
                        Support Provider to provide maintenance and/or support for Oracle software,
            5           including by identifying the date of the statements, to whom the statements were
                        made, and any documents reflecting the statements.
            6
                 McCracken Decl. Ex. K at 5. Oracle’s communications with law enforcement agencies fall
            7
                 directly within the scope of Interrogatory No. 14 as posed. However, Oracle refused to answer
            8
                 the interrogatory. During the meet and confer process, even though Oracle knew it was sitting
            9
                 on easily-identifiable and highly relevant communications about the very conduct at issue in
          10
                 this case, Oracle misleadingly accused Rimini of going on a “fishing expedition.” Id. at Ex. M
          11
                 at 4–5. Not knowing of the communications that Oracle was going through pains not to reveal,
          12
                 Rimini, for the sake of compromise and to avoid motion practice, narrowed the scope of the
          13
                 interrogatory to “any competition agency, the United States Executive Office of the President,
          14
                 the Department of Homeland Security, and/or the American Technology Council.”
          15
                        Oracle should be compelled to describe its communications prompting the USAO’s
          16
                 subpoena for two reasons. First, the requested communications with the DOJ fall within
          17
                 Rimini’s narrowed interrogatory because the DOJ is a competition agency charged with
          18
                 investigating and enforcing U.S. antitrust laws. See JUSTICE.GOV, Anti-Trust Division Manual,
          19
                 Fifth Edition, available at https://www.justice.gov/atr/file/761126/download (last updated
          20
                 August 2017); see also William E. Kovacic, Rating the Competition Agencies: What Constitutes
          21
                 Good           Performance?,           FTC.GOV            (2009)           available          at
          22
                 https://www.ftc.gov/sites/default/files/documents/public_statements/rating-competition-
          23
                 agencies-what-constitutes-good-performance/2009rating.pdf (referring to the DOJ as a
          24
                 “competition agency”).
          25
                        Second, even if the Court agrees with Oracle that the communications do not fall within
          26
                 the scope of the interrogatory as narrowed, there is good cause to compel Oracle to disclose its
          27
                 communications with law enforcement agencies in its response. When Rimini agreed to narrow
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                                                                16
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            1    the scope of its request—in order to avoid initiating motion practice—it did not know about
            2    these communications. Conversely, Oracle did know about them, but did not disclose them,
            3    repeatedly telling Rimini that there were no relevant documents and that it was pursuing a
            4    “fishing expedition.”   Had Rimini known of these communications, Rimini would have
            5    specifically demanded that Oracle describe them as part of Rimini’s agreement with Oracle on
            6    the scope of the interrogatory. The importance of the evidence, Rimini’s diligence after recently
            7    learning of these communications, the lack of prejudice to Oracle, and the circumstances of the
            8    parties meet-and-confer efforts all weigh in favor of compelling this discovery.
            9                                       V.      CONCLUSION
          10            The discovery Rimini seeks through its Rule 30(b)(6) deposition notice, its thirty RFPs,
          11     and Interrogatory No. 14 is highly relevant to numerous claims and counterclaims in this case
          12     and is proportional to the needs of the case. Rimini, therefore, respectfully requests that the
          13     Court grant Rimini’s Motion and issue an order compelling Oracle to produce documents and
          14     communications responsive to the full scope of Rimini’s document requests and to fully
          15     respond to Interrogatory No. 14 within fourteen days, and compelling Oracle to produce a
          16     deponent who is able to testify to the full scope of Topic 5 of Rimini’s deposition notice at a
          17     reasonable time shortly after Rimini receives the documents.
          18

          19     Dated: March 28, 2018
          20                                                   GIBSON, DUNN & CRUTCHER LLP
          21
                                                               By: /s/ Jeffrey T. Thomas
          22                                                                   Jeffrey T. Thomas
          23                                                   Attorneys for Plaintiff and Counterdefendant
                                                               Rimini Street, Inc., and Counterdefendant Seth
          24                                                   Ravin
          25

          26

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            1                                    CERTIFICATE OF SERVICE
            2            I hereby certify that on this date, I caused to be electronically uploaded a true and correct

            3    copy in Adobe “pdf” format of the above document to the United States District Court’s Case

            4    Management and Electronic Case Filing (CM/ECF) system. After the electronic filing of a

            5    document, service is deemed complete upon transmission of the Notice of Electronic Filing

            6    (“NEF”) to the registered CM/ECF users. All counsel of record are registered users.

            7    DATED: March 28, 2018

            8                                                    GIBSON, DUNN & CRUTCHER LLP
            9
                                                                 By: /s/ Jeffrey T. Thomas
          10                                                                     Jeffrey T. Thomas
          11                                                     Attorneys for Plaintiff and Counterdefendant
                                                                 Rimini Street, Inc., and Counterdefendant Seth
          12                                                     Ravin
                 102483263
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